       Case 3:19-cr-00364-ECM-WC Document 29 Filed 01/30/20 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      Case No.: 3:19-CR-364-ECM
                                               )
NAYEF AMJAD QASHOU                             )


                          NOTICE OF INTENT TO CHANGE PLEA

       COMES NOW the Defendant, NAYEF AMJAD QASHOU, by and through undersigned

counsel, Stephen P. Ganter, and notifies the Court of his intent to change his previously entered

plea of not guilty to guilty. Defendant waives his right to plead in front of a district judge and

consents to do so before a magistrate judge.

       Dated this 30th day of January 2020.


                                               Respectfully submitted,

                                               s/ Stephen Ganter
                                               STEPHEN P. GANTER
                                               Bar No.: TX24003732
                                               Federal Defenders
                                               Middle District of Alabama
                                               817 South Court Street
                                               Montgomery, AL 36104
                                               TEL: (334) 834-2099
                                               FAX: (334) 834-0353
                                               E-Mail: Stephen_Ganter@fd.org
       Case 3:19-cr-00364-ECM-WC Document 29 Filed 01/30/20 Page 2 of 2



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      Case No.: 3:19-CR-364-ECM
                                              )
NAYEF AMJAD QASHOU                            )


                                CERTIFICATE OF SERVICE

       I hereby certify that on January 30, 2020, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel of record.



                                              Respectfully submitted,


                                              s/ Stephen Ganter
                                              STEPHEN P. GANTER
                                              Bar No.: TX24003732
                                              Federal Defenders
                                              Middle District of Alabama
                                              817 South Court Street
                                              Montgomery, AL 36104
                                              TEL: (334) 834-2099
                                              FAX: (334) 834-0353
                                              E-Mail: Stephen_Ganter@fd.org
